Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 1 of 12 Page ID #:34



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  8
  9                    UNITED STATES DISTRICT COURT
 10                   CENTRAL DISTRICT OF CALIFORNIA
 11                              SOUTHERN DIVISION
 12
    INVENSAS CORPORATION and                  Case No. 8:20-mc-14
 13
    TESSERA ADVANCED
 14 TECHNOLOGIES, INC.,                       [Case pending in the United States
                                              District Court for the District of
 15
                       Plaintiffs,            Delaware, Case No. 19-cv-861-RGA]
 16
                 v.                           DECLARATION OF JOE DARWIN
 17
                                              IN SUPPORT OF NONPARTY
 18 NVIDIA CORPORATION,                       EVGA CORPORATION’S MOTION
                                              TO QUASH
 19
                       Defendant.
 20                                           Hearing Date: Aug. 10, 2020 (or later)
                                              Hearing Time: TBD
 21
                                              Hearing Place: TBD
 22
                                              Judge: TBD
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Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 2 of 12 Page ID #:35



  1        I, Joe Darwin, hereby declare:
  2        1.    I am Chief Branding Officer for EVGA Corporation (“EVGA”). I have
  3 worked for EVGA for approximately 20 years in various capacities. I have personal
  4 knowledge of the facts herein or have ascertained relevant facts from sources at
  5 EVGA and would, if called, testify competently thereto.
  6                               Background on EVGA
  7        2.    EVGA is a leading United States-based distributor of NVIDIA GPU-
  8 based video cards and other products including Intel chipset-based motherboards,
  9 power supplies, and computer cases for consumers, including gaming enthusiasts and
 10 other users of advanced graphics computing packages.
 11        3.    EVGA purchases NVIDIA GPUs and builds custom graphics cards, as
 12 well as additional components to assemble a final end user product that is ready for
 13 market. Since at least January 2015, EVGA has generally not purchased products
 14 directly from NVIDIA Corporation (“NVIDIA”) that are incorporated into EVGA
 15 products sold in the U.S.     EVGA generally sells its GPU-based graphics cards
 16 through four main channels: (a) e-tailers, such as Amazon and New Egg that sell
 17 online to consumers; (b) retailers, such as Best Buy, that primarily sell in physical
 18 retail locations; (c) distributors, like Ingram Micro, that in turn sell to numerous
 19 smaller online and physical retailers; and (d) systems integrators, like CyberPower
 20 PC, that buy GPU-based graphics cards to build into larger custom systems for resale
 21 to both consumers and business end users.
 22        4.    Demand for GPU-based graphics cards can be highly variable,
 23 depending on demand by consumers seeking high-end gaming equipment, businesses
 24 seeking high computer processing speeds for digital currency work, and other
 25 businesses who, more and more, rely on extremely fast graphics processing software
 26 (engineering for instance). At any given time, EVGA typically carries an extensive
 27 current line of GPU-based cards, as well as some legacy products.
 28        5.    For instance, I estimate that EVGA’s current line offering includes more
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Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 3 of 12 Page ID #:36



  1 than 400 distinct SKUs (store keeping units) of GPU-based cards with NVIDIA
  2 chipsets. On average, I estimate that a given EVGA GPU-based graphics card SKU
  3 will remain in the current line for approximately 2 years. So if, as in this case, a
  4 subpoena asks EVGA to list out all NVIDIA-based products it has offered over a 5+
  5 year period, I estimate that the subpoena would require EVGA to specify
  6 approximately 500 distinct SKUs. In 2019, across all GPU-based SKUs, EVGA sold
  7 more than 600,000 units.
  8        6.     In addition to the current line, at any given time, EVGA may have
  9 (mostly nominal) inventory of legacy products based upon ongoing final sell-through,
 10 RMAs (return merchandising authorizations), or other returns. Currently, I estimate
 11 that EVGA has legacy inventory of as many as 100 distinct SKUs for NVIDIA GPU-
 12 based graphics cards totaling not more than 10,000 units (i.e., less than 2% of annual
 13 sales). These are generally not promoted for sale but will typically be liquidated to
 14 close out specific SKUs.
 15                            Invensas’ Subpoena to EVGA
 16        7.     Plaintiffs Invensas Corporation and Tessera Advanced Technologies,
 17 Inc. (collectively, “Invensas” or “Plaintiffs”) served a subpoena requesting
 18 documents and a deposition from EVGA (the “Subpoena”) for use in their patent
 19 infringement litigation against Defendant NVIDIA.
 20        8.     Invensas’ Subpoena included the following definitions:
 21               a. “The term ‘EVGA Product(s)’ means any EVGA product or device
 22                  incorporating one or more Accused NVIDIA Chipset that has been
 23                  sold in the United States, or imported into the United States, between
 24                  May 2013 and the present.”
 25               b. “The term ‘Accused NVIDIA Chipset(s)’ means the following
 26                  NVIDIA Graphics Processing Unit (GPU) or System-on-Chip (SoC)
 27                  product families: GT215, GT216, GT218, GF100, GF104, GF106,
 28                  GF108, GF110, GF114, GF116, GF117, GF119, GK104, GK106,
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Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 4 of 12 Page ID #:37



  1                 GK107, GK110, GK208, GK210, GM107, GM108, GM200,
  2                 GM204, GM206, GP100, GP102, GP104, GP106, GV100, AP20
  3                 (T20), T30, T114 (T35), T124, T132, T148, T186, and T210.”
  4        9.    Invensas’ Subpoena included the following four (4) requests for
  5 production of documents (“Requests”):
  6              a. Request 1: Documents sufficient to identify each EVGA Product,
  7                 including without limitation the brand name, model name, product
  8                 number, or other identifier, and the NVIDIA Chipset(s) used in each
  9                 such EVGA Product.
 10              b. Request 2: Documents sufficient to show the number of EVGA
 11                 Products sold in the United States and the total revenues from such
 12                 sales, broken down by (a) NVIDIA Chipset model and (b) the model
 13                 or part number of the EVGA Product.
 14              c. Request 3: All agreements and contracts between You and NVIDIA
 15                 that relate to the marketing, distribution, or sale of any EVGA
 16                 Product.
 17              d. Request 4: All documents reflecting communications between You
 18                 and NVIDIA that concern Plaintiffs, the Action, the Asserted
 19                 Patents, and/or any other litigation proceeding involving an Asserted
 20                 Patent.
 21        10.    Invensas’ Subpoena also included the following eight (8) topics for
 22 deposition (“Topics”):
 23              a. Deposition Topic 1: The identity of each EVGA Product, including
 24                 without limitation the brand name, model name, product number, or
 25                 other identifier, and the NVIDIA Chipset(s) used in each such
 26                 EVGA Product.
 27              b. Deposition Topic 2: The number of EVGA Products sold in the
 28                 United States and the total revenues from such sales, broken down
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Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 5 of 12 Page ID #:38



  1                   by (a) NVIDIA Chipset model and (b) the model or part number of
  2                   the EVGA Product.
  3               c. Deposition Topic 3: Agreements and contracts between You and
  4                   NVIDIA that relate to the marketing, distribution, or sale of any
  5                   EVGA Product.
  6               d. Deposition Topic 4: The supply chain for each EVGA Product,
  7                   starting with the manufacture of each product (e.g., geographic
  8                   location of manufacture) and ending with the sale of the product
  9                   (whether made to a distributor, a wholesaler, a retailers, or directly to
 10                   a customer), including any third party involved in any part of the
 11                   supply chain.
 12               e. Deposition Topic 5: Communications between You and NVIDIA
 13                   about Invensas, the Action, the Asserted Patents, and/or any other
 14                   litigation proceeding involving an Asserted Patent.
 15               f. Deposition Topic 6: The identification of all documents relevant to
 16                   the topics above.
 17               g. Deposition Topic 7:         The authenticity, source, record-keeping
 18                   practices, and meaning of the documents produced in response to
 19                   these requests.
 20               h. Deposition Topic 8: Your search for and collection of documents
 21                   responsive to these requests.
 22        11.    I am informed that Invensas subsequently modified the relevant time
 23 period for Requests 1 and 2, which the Subpoena originally set as May 2013 to
 24 present. In this declaration, I assume that the relevant time period for Requests 1 and
 25 2 is October 2014 to present.
 26        12.    Below, I discuss the burden on EVGA to collect documents in response
 27 to Requests 1-4 and/or prepare a corporate witness (or witnesses) to testify regarding
 28 Topics 1-8.
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Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 6 of 12 Page ID #:39



  1              Requests 1 and 2 (EVGA Products, unit sales, and revenue)
  2        13.     Requests 1 and 2 seek the following data from EVGA: (a) a list
  3 identifying each EVGA Product that includes one or more of the thirty-six Accused
  4 NVIDIA Chipset listed in the subpoena and was sold in the U.S. from October 2014
  5 to present; (b) total units sold for each SKU across the same period; and (c) revenue
  6 EVGA received on each SKU across the same period.
  7        14.     I understand that none of the information sought in Requests 1 and 2 is
  8 kept in the requested form in EVGA’s ordinary course of business. For example, the
  9 Subpoena defines “EVGA Product(s)” based on whether a product (a) was sold in the
 10 U.S. or imported into the U.S. since October 2014; and (b) incorporates one or more
 11 of the thirty-six Accused NVIDIA Chipsets specified in the Subpoena. However, I
 12 understand that the unit sales information EVGA maintains in the ordinary course of
 13 its business does not usually include the NVIDIA GPU product family number(s)
 14 contained in EVGA’s products.
 15        15.     I also understand that none of this information could be easily compiled.
 16 To produce this information, I have been informed that we would first have to
 17 dedicate staff from our product team to specify the 500 or so estimated SKUs sold in
 18 line during the period in question. EVGA’s product team informed me that they do
 19 not track the NVIDIA GPUs used in our products by the “product family numbers”
 20 listed in the Subpoena, but rather use the NVIDIA GPU brand name, so this
 21 information would essentially have to be compiled manually. At the same time, I
 22 have been informed that we would have to run sales reports for all products (we
 23 cannot easily specify a subset of approximately 500 distinct SKUs) by quarter for
 24 more than 20 quarters (reports of all products across more than one quarter are not
 25 feasible to do at one time). I have also been informed that each such report would
 26 take significant processing time (more than 4 hours each) and require the specific
 27 attention of our IT department. We would then have to aggregate these reports and
 28 remove non-NVIDIA and non-accused NVIDIA products. Once we had raw data, we
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Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 7 of 12 Page ID #:40



  1 then would have to scrub the data in some way to gain reasonable comfort as to its
  2 reliability. This work is just to get a list of EVGA’s current line products containing
  3 the specified NVIDIA Chipset(s), and unit sales by SKU.
  4         16.   To compile the information for just parts (a) and (b) from scratch, I
  5 estimate that it would take 80 to 100 hours of EVGA employee time (valued at
  6 approximately $75 per hour), including managing the project myself, IT staff setting
  7 up and running more than 20 large quarterly sales reports, each taking up to 4 hours
  8 of processing time, our accounting and IT staff aggregating the data, and our product
  9 team specifying which SKUs include Accused NVIDIA Chipsets.
 10         17.   In addition, I have been informed that inclusion of legacy products in the
 11 list of EVGA products would require additional time to (a) investigate the NVIDIA
 12 Chipsets used in the legacy products; and (b) review accounting records (e.g.,
 13 ongoing final sell-throughs, RMAs, or other returns) to determine if such legacy
 14 products were sold in the U.S. during the relevant time period. Moreover, inclusion
 15 of legacy products would likely only add a disproportionately small number of
 16 additional unit sales (i.e., less than 2% of annual sales) when compared to the
 17 significant, additional efforts needed to collect such information.
 18         18.   I have also been informed that compiling revenue information by SKU,
 19 as requested in part (c), would also require extensive additional time because, as
 20 discussed below, we would have to account for things like promotional support,
 21 returns, and price protection.
 22         19.   In general, EVGA’s sales process is complex, not consisting of single-
 23 item purchase orders or invoices, but rather comprised of negotiated, bulk-item
 24 purchase orders and invoices. Any given purchase order may cover more than dozens
 25 of EVGA SKUs, some of which may include NVIDIA-components and some of
 26 which may not.
 27         20.   EVGA has more than 20 material customers, each with distinct business
 28 terms, such as timing of payment, discounts, promotional support, return policies for
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Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 8 of 12 Page ID #:41



  1 unsold merchandise, etc. Most of these customers buy a variety of products from
  2 EVGA, not just NVIDIA GPU-based graphics cards, but also motherboards, power
  3 supplies, peripherals, and cases not related to NVIDIA.
  4         21.   Customers pay EVGA; but, EVGA and its customers typically also
  5 exchange a complex series of credit and debit memos covering returns, offsets, and
  6 credits (discussed further below). But typically, these payments are similarly bulk in
  7 nature and must be allocated to delivered products. These relationships are complex
  8 and ongoing.
  9         22.   With respect to these relationships, as referenced above, although
 10 purchase orders and invoices contain some pricing information, I am informed that
 11 the ultimate price paid per unit is affected by many factors, including without
 12 limitation: (a) NVIDIA rebates made available both to EVGA’s customers and in
 13 some cases directly to consumers; (b) EVGA promotional offers, used after delivery
 14 to help channels clear inventory (for instance, EVGA might offer a retailer $10/unit
 15 in credit for a certain period of time on a certain SKU); and (c) and other credits like
 16 price matching, point-of-sale rebates, consumer rebates, and general marketing
 17 support credits.
 18         23.   In general, the pricing information between EVGA and its customers is
 19 confidential. To my knowledge, it is not publicly-disclosed; and, EVGA does not
 20 disclose pricing to NVIDIA either. Although some consumer pricing for EVGA’s
 21 products (by retailers and e-tailers) may be publicly-available (e.g., on Amazon’s
 22 website or at a Best Buy store), these prices presumptively include EVGA’s
 23 customer’s markups. Systems integrators sell just that, integrated systems including
 24 an EVGA component; their integrated system pricing is not known to EVGA or, to
 25 my knowledge, to the public; and, if it were, one would still likely not know what
 26 percentage of the price tied out to EVGA product.
 27         24.   For these reasons, a request that EVGA produce a list of all EVGA
 28 products that contain the NVIDIA Chipsets specified in the subpoena and that EVGA
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Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 9 of 12 Page ID #:42



  1 sold in the U.S. over a 5+ year period of time, along with quantities and “revenue,” is
  2 a much more material undertaking than it may appear; and, one that, if required,
  3 would likely result in disclosure of highly confidential revenue information never
  4 made available to EVGA’s supplier NVIDIA, the connecting party in this case. I do
  5 not believe that NVIDIA can ever be fully screened from this revenue information
  6 given its party status. In addition, public disclosure of EVGA’s confidential pricing
  7 and revenue information, especially to EVGA’s customers, would competitively
  8 harm EVGA.
  9        25.    However, I have been informed that in the regular course of our
 10 business, since at least as early as October 2014, we have shared with NVIDIA,
 11 generally on a weekly basis, a report that shows the total number of units of each
 12 NVIDIA-based graphics card shipped to our customers by channel.                    My
 13 understanding is that this report was intended to give NVIDIA insight as to how
 14 much of its product was hitting the market, generally, each week. I have also been
 15 informed that this report does not typically include any pricing or revenue
 16 information. As noted above, to my knowledge, we typically do not provide such
 17 financial information concerning EVGA’s downstream products to NVIDIA in the
 18 ordinary course of business. I am informed that we do not aggregate these reports;
 19 and, we do not store the resulting reports. But NVIDIA received these reports; so, I
 20 believe that NVIDIA could produce them. And, in turn, EVGA may be able to locate
 21 some or all of these weekly reports (more than 250 of them (52 weeks x 5 years)) on
 22 our active email servers. I estimate that this effort should not take more than 10
 23 hours of time.
 24                                   Requests 3 and 4
 25        26.    Request 3 seeks production of all agreements and contracts between
 26 EVGA and NVIDIA that relate to the marketing, distribution, or sale of any EVGA
 27 Product. But I am not aware of any overarching sales or marketing agreement that
 28 EVGA has directly with NVIDIA. While I am aware that EVGA has licenses to use
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Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 10 of 12 Page ID #:43



   1 NVIDIA’s trademarks and technology, these licenses do not appear to be responsive
   2 to Plaintiffs’ requests. Given my job responsibilities, I would have been (but was
   3 not) consulted if EVGA entered into responsive agreements directly with NVIDIA,
   4 and am sometimes the signatory on behalf of EVGA.
   5         27.    Request 4 seeks production of all documents reflecting communications
   6 between EVGA and NVIDIA that concern Plaintiffs, the Action, the Asserted
   7 Patents, and/or any other litigation proceeding involving an Asserted Patent. Other
   8 than informing NVIDIA that Invensas had served EVGA with a subpoena and that
   9 EVGA was contemplating filing a motion to quash the subpoena, I am not aware of
  10 direct communications between EVGA employees and NVIDIA employees regarding
  11 this Action.
  12         28.    I am informed that EVGA has approximately fifteen points of contact
  13 with NVIDIA. To the extent this request is read broadly to require collection of
  14 fifteen user email accounts without any limit on the relevant time period, and
  15 searches of the collected user email accounts using various terms, such efforts would
  16 be significant as some of EVGA’s points of contact with NVIDIA reside in different
  17 locations (e.g., California, Taipei) and many are currently working remotely due to
  18 the shelter-in-place orders in effect due to the COVID-19 pandemic. In addition,
  19 even if such efforts were taken, I believe it is highly unlikely that such a search would
  20 result in identification of responsive emails related to this case. Given my job
  21 responsibilities, I would have been (but was not) consulted if there were
  22 communications with NVIDIA regarding any litigations or patents.
  23                               Deposition Topics 1 and 2
  24         29.    Deposition Topics 1 (EVGA Products) and 2 (unit sales and revenue)
  25 generally correlate to Requests 1 and 2, respectively. As discussed above with
  26 respect to Requests 1 and 2, I estimate that it would take 80 to 100 hours of EVGA
  27 employee time to just get a list of EVGA products containing the specified NVIDIA
  28 Chipsets and unit sales of those EVGA products (even longer if legacy products were
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Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 11 of 12 Page ID #:44



   1 included), and extensive additional time to collect revenue information. Collection of
   2 these documents also would require coordination between myself, EVGA’s IT and
   3 accounting staff, and members of EVGA’s product teams. Preparing a witness (or
   4 multiple witnesses) to testify for EVGA about these documents would similarly
   5 require significant time and coordination of EVGA employees from several
   6 departments.
   7                               Deposition Topics 3 and 5
   8         30.   Deposition Topics 3 (agreements with NVIDIA) and 5 (communications
   9 with NVIDIA) generally correlate to Requests 3 and 4, respectively. As discussed
  10 above with respect to Requests 3 and 4, to my knowledge, EVGA does not have any
  11 such agreements with NVIDIA; nor am I aware of, nor do I have any reason to
  12 believe, that there are communications about this Action (except as described above).
  13 To the extent that Request 4 were read broadly to require collection and searching of
  14 fifteen email user accounts without any limit on the relevant time period, I believe
  15 that it is highly unlikely that such efforts would result in identification of responsive
  16 emails.
  17                                   Deposition Topic 4
  18         31.   Deposition Topic 4 seeks testimony regarding the supply chain for each
  19 EVGA Product, including the identity and geographic location of any and every third
  20 party involved in any part of the supply chain.          I understand that information
  21 regarding all EVGA manufacturers, suppliers, distributors, and customers is
  22 confidential. To my knowledge, it is not publicly-disclosed; and, EVGA does not
  23 disclose all this information to NVIDIA. Although EVGA’s e-tailers and retailers
  24 and some of its suppliers (e.g., NVIDIA) are publicly-available, to my knowledge,
  25 much of EVGA’s supply chain is not.
  26         32.   In view of the undue burden that Invensas’ Subpoena would impose on
  27 EVGA and Invensas’ service of similar subpoenas on six other NVIDIA customers,
  28 EVGA has concerns that Invensas would similarly disturb EVGA’s manufacturers,
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Case 8:20-mc-00014-CJC-DFM Document 1-1 Filed 07/07/20 Page 12 of 12 Page ID #:45
